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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


ERIC EALY et al.,

                  Plaintiffs,

v.                                              CASE NO. 4:24cv29-RH-MAF

WEBBER INFRASTRUCTURE
MANAGEMENT, INC.,

                  Defendant.

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                                ORDER CLOSING THE FILE


         The parties have filed a stipulation of voluntary dismissal with prejudice.

ECF No. 38. The notice is effective without an order. See Fed. R. Civ. P.

41(a)(1)(A)(i); Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir.

2012). This order confirms that the case has been dismissed. The clerk must close

the file.

         SO ORDERED on November 9, 2024.

                                         s/Robert L. Hinkle
                                         United States District Judge




Case No. 4:24cv29-RH-MAF
